Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 1 of 14



                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 19-cv-61308-RKA

  625 FUSION, LLC d/b/a
  RED DOOR ASIAN BISTRO,

  ANTONIO ASTA and ZHI YU LIU,

          Plaintiff,
  vs.

  CITY OF FORT LAUDERDALE
  and ROBERT GONZALEZ,

          Defendants.
                                               /



        DEFENDANT CITY’S MOTION TO DISMISS FIRST AMENDED COMPLAINT

          The Defendant City of Fort Lauderdale (ACity@), by and through its undersigned attorneys

  and pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure request that the Court enter

  an order dismissing the First Amended Complaint (Counts I and II) (DE 23) as against the

  Defendant City for failure to state a claim upon which relief can be granted, and as grounds

  therefore would show:

          1.      Plaintiff 625 Fusion, LLC (ARed Door@) is a limited liability company which

  operates a restaurant knows as Red Door Asian Bistro at 625 Las Olas Blvd., and Plaintiffs Antonio

  Asta (AAsta@) and Zhi Yu Liu (ALiu@) are the owner/members of Red Door. (DE 23 at &6-8).

          2.      The First Amended Complaint alleges that during the build out of the restaurant

  space, City mechanical inspector Robert Gonzalez issued a “red flag” which stated that the kitchen

  hood for the restaurant was not properly certified. It is further alleged that the City=s Building

                                                   1
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 2 of 14



  Official and a different inspector visited the property and determined that the hood device was

  properly certified and apologized for Gonzalez’s behavior and wished them success in serving

  customers that evening. (DE 23 at &24-27 and 32-34).

         3.      The First Amended Complaint asserts that there was no basis for the issuance of

  the red flag, that its issuance delayed the opening of the restaurant, caused Red Door to incur

  additional expenses, and that mechanical inspector Gonzalez made a number of anti-Asian

  comments which suggested that there had been an anti-Asian bias in his decision to issue a red

  flag for the kitchen hood. (DE 23 at &19-20 and 38-43). Finally, it is asserted that mechanical

  inspector Gonzalez subsequently cancelled on the computer the restaurant’s mechanical approval

  after it had opened and all licenses and permits were obtained.

         4.      Count I of the First Amended Complaint seeks relief against the City for a claimed

  violation of 42 U.S.C. '1983 based on a denial of equal protection of the law and Count II seeks

  relief for a claimed violation of '1983 based on a deprivation of Plaintiff=s property rights without

  procedural and substantive due process. Count III does not seek relief against the Defendant City

  and is directed against mechanical inspector Gonzalez. (DE 23 at &89-97).

         5.      Count I fails to state a violation of 42 U.S.C. '1983 as against the Defendant City

  based on a denial of equal protection for the following reasons:

                 (a)     The First Amended Complaint fails to set forth a basis for municipal

  liability. Any decision by mechanical inspector Gonzalez was subject to meaningful review by

  the Broward County Board of Rules and Appeals and Florida Building Commission. See Section

  113.9.1 of the Broward County Administrative Provisions for the 2017 Florida Building Code and

  Section 553.775(3)(c) Fla. Statutes.     The First Amended Complaint=s formulaic allegations


                                                   2
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 3 of 14



  regarding municipal policy and custom are insufficient to state a plausible claim for relief.

          6.      Count II fails to state a violation of 42 U.S.C. '1983 as against the Defendant City

  based on a denial of substantive and procedural due process for the following reasons:

                  (a)    The First Amended Complaint does not allege that Plaintiff were deprived

  of any property, or in the alternative that any deprivation of property rose to the level which would

  give rise to a substantive due process claim.

                  (b)    The First Amended Complaint fails to state a procedural due process

  violation because it does not allege that remedies available under Florida law were inadequate to

  address any error in the issuance of the “red flag” for the kitchen hood. As set forth in the First

  Amended Complaint, inspector Gonzalez’s initial decision was reversed by the City’s Building

  Official and any decision by mechanical inspector Gonzalez was subject to meaningful review by

  the Broward County Board of Rules and Appeals. See Section 113.9.1 of the Broward County

  Administrative Provisions for the 2017 Florida Building Code. Available remedies under Florida

  law were adequate to satisfy any federal procedural due process considerations.

                  (c)    The First Amended Complaint fails to set forth a basis for municipal

  liability. Any decision by mechanical inspector Gonzalez was subject to meaningful review by

  the Broward County Board of Rules and Appeals. See Section 113.9.1 of the Broward County

  Administrative Provisions for the 2017 Florida Building Code. The First Amended Complaint=s

  formulaic allegations regarding municipal policy and custom are insufficient to state a plausible

  claim for relief.

          7.      Plaintiffs Asta and Liu are shareholders of the Plaintiff corporation Red Door.

  Plaintiff=s Asta and Liu lack standing to seek relief regarding damages sustained by the corporation

                                                   3
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 4 of 14



  and fail to allege that they have deprived of any federally protected right.

         WHEREFORE, the Defendant City requests that the Court enter an order dismissing

  Plaintiff’s First Amended Complaint (Counts I and II) as against the Defendant City for the reasons

  stated above and as more fully set forth in the following Memorandum of Law.

                                        Memorandum of Law

         The Defendant City, by and through its undersigned attorneys and pursuant to Local Rule

  7.1, submits its memorandum of law in support of the City’s Motion to Dismiss Plaintiff’s First

  Amended Complaint, and states as follows:

                                             Introduction

         To avoid dismissal under Federal Rule of Civil Procedure 12(b)(6), the plaintiff must

  articulate “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads

  factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A pleading that offers

  mere “labels and conclusions” or “a formulaic recitation of the elements of a cause of action” will

  not survive dismissal. Id. This formulation is considerably stricter than the “no set of facts”

  standard, which previously governed at the dismissal stage under Conley v. Gibson, 355 U.S. 41,

  45-46 (1957). See Mukamal v. Bakes, 378 F. Appx. 890, 896 (11th Cir. 2010).

         In applying Twombly and Iqbal, the Eleventh Circuit has instructed the district courts to

  “eliminate any allegations in the complaint that are merely legal conclusions,” and “where there

  are well-pleaded factual allegations, assume their veracity and then determine whether they

  plausibly give rise to an entitlement to relief.” Kivisto v. Miller, Canfield, Paddock & Stone, PLC,

                                                    4
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 5 of 14



  413 F. App’x 136, 138 (11th Cir. 2011) (citations omitted).

          When the adjectives and conclusory assertions of the First Amended Complaint are ignored

  as instructed by the Eleventh Circuit, the factual allegations state the following:

                   (a)      On April 30, 2018, City mechanical inspector Robert Gonzalez issued a “red

  flag” on a kitchen hood which was installed as part of the buildout of the restaurant space. (DE 19

  at ¶16).

                   (b)      The “red flag” incorrectly stated the kitchen hood was not properly certified.

  (DE 19 at ¶16).

                   (c)      Thereafter, the City’s Building and another inspector visited the site,

  determined that the “red flag” had been erroneously issued and signed off on the remainder of the

  permits for the Red Door. (DE 19 at ¶22-23).

                   (d)      Plaintiff Red Door then visited City Hall, verified that all of the permits

  were completed and received its occupational license to open shortly thereafter. (DE 19 at ¶24).1

                   (e)      Thereafter, Plaintiff Red Door learned through the “rumor mill” that

  Gonzalez had taken the unprecedented step of trying to cancel the mechanical approval. (DE 19 at

  ¶¶30 and 31).

                   (f)      On June 11, 2018, Red Door’s engineer, architect and fire expert determined

  that Gonzalez’s new concerns were baseless and thereafter the City cancelled two meetings to

  discuss Gonzalez’s unspecified “new concerns”. (DE 19 at ¶33-37).

                   g)       Gonzalez was embarrassed and told the owners that he was going to do



  1 Although the date that Red Door opened is not stated in the Complaint, Red Door’s website states that it opened
  on May 14, 2018 (14 days after the “red flag”) and celebrated its one-year anniversary on May 14, 2019.
  https://www.reddoorasianbistro.com/press-media.html
                                                           5
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 6 of 14



  everything possible to create more problems for them and “let him know that at least one of the

  reasons for the discrimination was his negative attitudes towards Asians”. (DE 19 at ¶28).

          The First Amended Complaint is devoid of any allegation that Red Door was required to

  close or cease its business operations in response to Gonzalez’s unspecified new concerns.2 In an

  effort to assert a basis for municipal liability, the First Amended Complaint also sets forth some

  formulaic allegations of policy and custom. Specifically, the Fist Amended Complaint alleges,

  without any supporting facts that “the City enforced a practice and custom of threatening,

  intimidating and extorting individuals intending to operate a business in the City, including these

  Plaintiffs, based on race and national origin, and “enforced a practice and custom of threats,

  intimidation and extortion to deprive individuals, including Plaintiffs of their property and rights

  without procedural and substantive due process guaranteed under the constitution….” (DE 19 at

  ¶47, 48, 52 and 53).

                                       No Basis for Municipal Liability

          It is axiomatic that municipal liability for a violation of 42 U.S.C. §1983 cannot be based

  solely on respondeat superior. Mandel v. Doe, 888 F.2d 783, 791 (11th Cir. 1989). Instead,

  municipal liability can be imposed only for the acts of a final policy maker or where an employee

  or official deprives another of a federally protected right pursuant to a policy or custom adopted

  or approved by the municipalities final policy makers. Pembaur v. City of Cincinnati, 475 U.S.

  469, 480, 106 S.Ct. 1292, 1298, 89 L.Ed. 2d 452 (1986) and City of Canton v. Harris, 489 U.S.




  2 Indeed, it is alleged that “this new issue by Gonzalez was raised months after all approvals were given, after all
  permits were closed and after Red Door opened with its occupation license and began successfully serving its
  customers”. (DE 19 at ¶32). Plaintiff do not allege that the City revoked Red Door’s occupational license or that
  Red Door ceased operating after the building official reversed inspector Gonzalez’s decision and it began operating.
                                                           6
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 7 of 14



  378, 384, 109 S.Ct. 1197, 1203, 103 L.Ed. 2d 412 (1989) (“a municipality can be found liable

  under §1983 only where the municipality itself causes the constitutional violation at issue”).

         Whether a particular municipal official or employee constitutes a final policy maker in a

  particular area presents a question of law for the Court. Jett v. Dallas Independent School District,

  491 U.S. 701, 737, 109 S.Ct. 2702, 2724, 105 L.Ed. 2d 598 (1989), Cooper v. Dillon, 403 F.3d

  1208, 1221-1222 (11th Cir. 2005) and Scala v. City of Winter Park, 116 F.3d 1396, 1402 at N.4

  (11th Cir. 1997). Under Florida law, Chief Mechanical Inspector Gonzalez was not the City’s final

  policy maker with respect to Florida Building Code issues such as those raised concerning the

  kitchen hood for the restaurant. Instead, under Florida law, Inspector Gonzalez’s decision could

  be reversed as happened here by the local building official and any person aggrieved by the

  decision of the chief mechanical inspector or local building official was then subject to review by

  the Broward County Board of Rules and Appeals, the Florida Building Code Commission and

  thereafter by the judiciary in Florida’s District Courts of Appeal. See Section 553.775(3)(c), Fla.

  Stat. Raben-Pastel v. City of Coconut Creek, 573 So.2d 298 (Fla. 1991) (city’s chief building

  official was not city’s final policy maker regarding interpretation and application of the Florida

  Building Code).

         In Raben-Pastal, a municipal building official issued a stop work order which for five

  months prevented construction of a residential project in the City of Coconut Creek. The developer

  asserted and the jury concluded that the building official had intentionally violated and/or

  misapplied the provisions of the building code or acted in an arbitrary, capricious and unreasonable

  manner in refusing to lift the stop work order. In approving the decision of the Fourth District

  Court of Appeal which reversed the jury verdict in favor of the developer, the Florida Supreme

                                                   7
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 8 of 14



  Court held as follows:

                 [T]he Building Code (now the Florida Building Code) also provides
                 that any decision made by the building official on matters regulated
                 by the Code is subject to review by the Board of Rules and Appeals
                 upon written application to the Secretary of the Board. After
                 reviewing the applicable provisions of the Building Code, we
                 believe the district court correctly concluded that the building
                 official did not posses the type of policy-making authority that
                 would made the City of Coconut Creek liable for his actions.

                 Imposing and lifting stop-work orders are maters regulated by the
                 South Florida Building Code (now the Florida Building Code).
                 Therefore, a decision by the building official affecting a stop-work
                 order is not final because it is subject to review by the Board. As
                 the district court noted, the provisions of the Building Codes set
                 forth in the City’s policy for regulating construction. Not only does
                 the code provide guidelines for those responsible for its
                 implementation, but more importantly, it specifically denies the
                 building official final policy-making authority over construction
                 projects through the review process. Under the dictates of
                 Praprotnik, the building official does not meet the criteria of a final
                 policy-maker. ID at 301-302.

         Florida law is clear that inspector Gonzalez is not a final policy maker for the City with

  respect to Florida building code issues such as those which form the subject matter of this action.

  Indeed, inspector Gonzalez’s decision and the decision of the City building official are both subject

  to meaningful administrative review. Scala v. City of Winter Park, 116 F.3d 1396, 1400-1401 (11th

  Cir. 1997) (“final policy making authority over a particular subject area does not vest in an official

  whose decisions in the area are subject to meaningful administrative review”).             Since the

  interpretation and application of Florida Building Code issues are subject to meaningful

  administrative review the First Amended Complaint fails to set forth a basis for municipal liability.

  See Raben-Pastel v. City of Coconut Creek, supra.

         In an effort to plead a basis for municipal liability, the Plaintiffs include formulaic

                                                    8
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 9 of 14



  recitations regarding a municipal policy custom or practice which are insufficient as a matter of

  law. While a complaint “does not need detailed factual allegations”, Twombly 550 U.S. at 545,

  general and non-specific allegations which are mere labels and conclusions do not state a plausible

  claim for relief. See, generally, Pyle v. Woods, 874 F.3d 1257, 1266 (10th Cir. 2017), Grider v.

  Cook, 590 Fed. Appx. 876 882 (11th Cir. Oct. 24, 2014), Detris v. Coats, 523 F.Ed. Appx. 612,

  615 (11th Cir. July 11, 2013) and Landsman v. City of Vero Beach, 2013 W.L. 12077480 (S.D.

  Fla. 2013).

         Plaintiff’s First Amended Complaint fails to state a plausible claim for relief. While

  asserting formulaic recitations regarding municipal policy and custom, the First Amended

  Complaint affirmatively alleges that inspector Gonzalez’s decision was reversed by the City’s

  building official, that Gonzalez’s alleged action was “unprecedented” and that following the

  reversal of the mechanical inspector’s decision the restaurant opened and has remained open

  without interruption. (DE 19 at ¶22, 23, 29 and 43). The First Amended Complaint fails to state a

  plausible basis for municipal liability.

                                No Substantive Due Process Violation

         In order to state a violation of 42 U.S.C. §1983 based on a deprivation of property without

  due process, the First Amended Complaint must identify the property which the Plaintiffs have

  been deprived of. In the instant case, the First Amended Complaint does not do so other than to

  allege that mechanical inspector Gonzalez issued a “red flag” on April 30, 2018 regarding a kitchen

  hood. The complaint appears to allege that this red flag delayed the opening of the Red Door

  restaurant until inspector Gonzalez’s decision was reversed by the City’s building official a short

  time later. Assuming for sake of argument that this temporarily deprived Red Door of a protected

                                                  9
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 10 of 14



   property right, it is clear that any such right would exist only under Florida law. Plaintiff Red

   Door does not complain of any legislative action by the City and the executive actions complained

   of regarding the misapplication of the building code by inspector Gonzalez do not give rise to a

   substantive due process claim. See McKinney v. Pate, 20 F.3d 1550, 1556 (11th Cir. 1994) (en

   banc), DeKalb Stone, Inc. v. County of Dekalb, Georgia, 1063 F.3d 956 (11th Cir. 1997) and

   Boatman v. Town of Oakland, Florida, 76 F.3d 341, 346 (11th Cir. 1996).                 Instead, the

   interpretation and application of the Florida Building Code involved state created rights which do

   not give rise to a viable substantive due process claim and instead are governed by the procedural

   due process protections of the Fourteenth Amendment. See Hillcrest Property, LLP v. Paco

   County, 915 F.3d 1292 (11th Cir. 2019). (Executive action involving arbitrary application of land

   use regulations does not give rise to a substantive due process claim.)

                 Florida Remedies Regarding Building Code Issues are Adequate
                          to Satisfy Federal Due Process Considerations

          It is well settled in the Eleventh Circuit that a non-legislative executive action regarding

   the deprivation of state created property rights are subject to federal due process protections under

   the Fourteenth Amendment. See McKinney, supra. However, interference with these state created

   property rights do not give rise to a federal procedural due process claim unless the remedies

   available under state law are inadequate to satisfy federal due process considerations. See Club

   Madonna, Inc. v. City of Miami Beach, 924 F.3d 1370, 1378-79 (11th Cir. 2019). A federal

   procedural due process violation does not exist where administrative and judicial remedies

   available under state law are adequate to satisfy federal due process considerations. Even if it is

   assumed for sake of argument that the First Amended Complaint alleged that one or more of the

   Plaintiffs was deprived of a protected property right regarding the issuance of the red flag or
                                                    10
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 11 of 14



   inspector Gonzalez’s later reversal of the mechanical approval om the computer, it is clear that

   Florida law provides adequate remedies to satisfy federal due process considerations. These

   remedies include the ability to appeal the interpretation and application of the Florida Building

   Code to the Broward County Board of Rules and Appeals, to the Florida Building Commission

   and obtain judicial review of any resulting administrative decision by appeal to the District Court

   of Appeal.

          The First Amended Complaint fails to state a procedural due process violation and should

   be dismissed.

            Shareholders Asta and Liu Have Not Asserted a Viable Section 1983 Claim

   The First Amended Complaint alleges that Plaintiff Red Door is a corporation which operates an

   Asian Fusion Restaurant at 625 East Las Olas Boulevard, Ft. Lauderdale, Florida. It is further

   alleged that the Red Door corporation is owned by Plaintiffs Asta and Liu. As set forth above, the

   First Amended Complaint seeks relief based on an April 30, 2018 red flag issued on a kitchen hood

   at the Red Door Restaurant by inspector Gonzalez and subsequent unspecified concerns that

   Gonzalez raised regarding the mechanical permit approval obtained for the Red Door kitchen

   hood. While it is true that an injury to the Red Door corporation may affect its shareholders,

   including Plaintiffs Asta and Liu, their rights are merely derivative and they cannot bring suit to

   redress the corporations injury in their own names. See KMS Restaurant Corp., v. Wendy’s

   International, Inc., 361 F.3d 1321, 1324-25 (11th Cir. 2004) (holding that a shareholder lacks

   standing to maintain an action to redress injuries to a corporation in his own name). This principal

   applies to claimed deprivations of due process and equal protection based on a violation of 42

   U.S.C. §1983. See Riggins v. Polk County, 602 F.Ed. Appx. 765 (11th Cir. 2015).

                                                   11
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 12 of 14



          The First Amended Complaint fails to allege that Plaintiffs Asta and Liu have been

   deprived of any federally protected right and Asta and Liu do not have standing to seek relief based

   on claimed damage to the corporation of which they are shareholders.

          WHEREFORE, the Defendant City requests that the Court enter an order dismissing

   Plaintiff’s First Amended Complaint (Counts I and II) as against the City for failure to state a claim

   upon which relief can be granted.


   Dated: October 3, 2019
                                                         Respectfully submitted,


                                                         /s/Michael T. Burke
                                                         Michael T. Burke, Esquire (338771)
                                                         Burke@jambg.com
                                                         Cardona@jambg.com
                                                         Johnson, Anselmo, Murdoch,
                                                         Burke, Piper & Hochman, P.A.
                                                         2455 East Sunrise Blvd., Suite 1000
                                                         Fort Lauderdale, Florida 33304
                                                         Telephone: 954-463-0100
                                                         Counsel for Defendant City of Ft. Lauderdale
                                                         and Robert Gonzalez




                                                    12
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 13 of 14



                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on the 3rd day of October, 2019, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
   document is being served this day on all counsel of records or pro se parties identified on the
   attached Service List in the manner specified, either via transmission of Notice of Electronic Filing
   generated by CM/ECF or in some other authorized manner for those counsel or parties who are
   not authorized to receive electronically or in some other authorized manner for those counsel or
   parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                 JOHNSON, ANSELMO, MURDOCH, BURKE,
                                                 PIPER & HOCHMAN, P.A.
                                                 Counsel for Defendant City of Fort Lauderdale
                                                 and Robert Gonzalez
                                                 2455 East Sunrise Boulevard, Ste. 1000
                                                 Fort Lauderdale, FL 33304
                                                 Telephone: 954-463-0100

                                                 BY: /s/Michael T. Burke
                                                    MICHAEL T. BURKE
                                                    Florida Bar No. 338771




                                                    13
Case 0:19-cv-61308-RKA Document 29 Entered on FLSD Docket 10/03/2019 Page 14 of 14



                                             SERVICE LIST

   Attorneys for Plaintiff:
   Douglas J. Jeffrey, Esq.
   Law Offices of Douglas J. Jeffrey, P.A.
   6625 Miami Lakes Dr. East, Ste. 365
   Miami Lakes, FL 33014
   305-828-4744
   dj@jeffreylawfirm.com

   Michael A. Pizzi, Jr.
   Michael A. Pizzi, Jr., P.A.
   6625 Miami Lakes Dr. East, Ste. 365
   Miami Lakes, FL 33014
   305-777-3800
   mpizzi@pizzilaw.com

   Benedict P. Kuehne, Esq.
   Kuehne Davis Law, P.A.
   100 S.E. 2nd Street, Suite 3550
   Miami, FL 33131-2154
   305-789-5989
   Ben.kuehne@kuehnelaw.com
   efiling@kuehnelaw.com
   mdavis@kuehnelaw.com

   Co-Counsel for Defendant Robert Gonzalez:
   Natalia Timmons, Esq.
   Gallardo Law Office, P.A.
   8492 S.W. 8th Street
   Miami, FL 33144
   305-261-7000
   civil@gallardolawyers.com
   Natalia.Timmons@gallardolaw.com

   Attorney for Defendant City of Fort Lauderdale and Robert Gonzalez:
   Michael T. Burke, Esq.
   Johnson, Anselmo, Murdoch, Burke,
   Piper & Hochman, P.A.
   2455 East Sunrise Boulevard, Ste. 1000
   Ft. Lauderdale, FL 33304
   Telephone: 954-463-0100
   Burke@jambg.com
   Cardona@jambg.com




                                                    14
